      Case 8:04-cr-00374-JSM-AEP Document 337 Filed 01/31/08 Page 1 of 6 PageID 643
A 0 245B (Rev 06105) Sheet 1 - Judgment in a Criminal Case


                            UNITED STATES DISTRTCT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DMSION



UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                                               CASE NUMBER: 8:04-cr-374-T-30TBM
                                                               USM NUMBER: 48363-018
VS.



WADE ATKINS HOOKER-JAMES
                                                               Defendant's Attorney: Paul D. Pctruzzi, ret.

THE DEFENDANT:

 X pleaded guilty to count(s) ONE of the Indictment.
-pleaded nolo contendere to count(s) which was accepted by the court.
-was found guilty on count(s) after a plea of not guilty
TITLE & SECTION                     NATURE OF OFFENSE                             OFFENSE ENDED

21 U.S.C. 58963 and                 Conspiracy to Import into the United          September 9,2004                    One
960(b)(l)(B)(ii)                    States Five Kilograms or More of
                                    Cocaine


      The defendant is sentenced as provided in pages 2 through 6 of thisjudgment. The sentence is imposedpursnant to the Sentencing
Refom Act of 1984.

-The defendant has been found not guilty on count(s)
X Count(s) TWO and THREE of the Indictment are dismissed on the motion of the United States
-
IT IS FURTHER ORDERED that the defendant must not& the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                  Date of Imposition of Sentence: January 31,2008




                                                                                            S. MOODY, JR.
                                                                                                                                      I
                                                                                  DATE: January      x,       2008
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A 0 245B (Rev 06/05) Sheet 2 - I tnprisonment (Judgtncnt in a Criminal Case)
Defendant:           WADE ATKINS HOOKER-JAMES                                                                    Judgment - Page 2 of 6
Case No.:            8:04-cr-374-T-30TBM

                                                                  IMPRISONMENT

         After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. @ 3553(a)(1)-
(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with the statutory
purposes of sentencing.


        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of ONE HUNDRED and SIXTY-EIGHT (168) MONTHS as to Count One of the Indictment. The defendant shall
receive credit for time served since his arrest on November 26,2004.



-
X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at a correctional
institution located in either central or southern Florida.

-
X The defendant is reniandcd to the custody of the United Statcs Marshal.
-Thc defendant shall surrender to the United Stales Marshal for this district.
         -at  - n.tn./p.m. on -,
          - as notified by the United States Marshal.
   The defendant shall surrender for service of sentence at thc institution designated by the Bureau of Prisons.

         -before 2 p.m. on -.
         -as notitied by the United States Marshal.
               as notified by the Probation or Pretrial Scrviccs Ol'ficc.




                                                                            RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                   to
- at                                                                        , with a certified copy of this judgment.



                                                                                        United States Marshal

                                                                             By:
                                                                                                Deputy United States Marshal
      Case 8:04-cr-00374-JSM-AEP Document 337 Filed 01/31/08 Page 3 of 6 PageID 645
A 0 245B (Rev. 06/05) Shect 3 - Supenked Release (Judgrnen t in a Criminal Case)

Defendant:        WADE A T ~ HOOKER-JAMES
                                   S                                                                             Judgment - Page 3 of
Case No.:         8:04-cr-374-T-30TBM
                                                         SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS as to Count
One of the Indictment,

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain fiom any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

          If this judgment imposes a Fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
          Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.
                                          STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not leave the judicial district without the pennission of the court or probation ofticer;

          the det'endant shall rcport to the probation otlicer and shall submit a truthful and complete written report within the first five days of each
          month;

          the defendant shall answer truthfully all inquiries by the probation officer and i'ollow the instructions oi'the probation oficcr;

          the dct'cndant shall support his or her clepcndcnls and meet other family responsibilities;

          the defendant shall work regularly at a lawful occupation, unless excused by ihe probation officer for schooling, training, or other
          acceptable reasons;

          the defendant shall noti@ the probation officer at least ten days prior lo any change in rcsidonce or employment;

          the defendant shall rckain kom cxccssive use of alcol~olarid shall not purchase, possess, use. distribute, or administer any controlled
          substance or any paraphernalia rclated to any controlled substances, except as prescribed by a physician;

          the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

          the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ol'a
          f'elony, unless granted permission to do so by the probation oilicer;

          the defendant shall permit a probation oi'ficer to visit him or her at any time at home or elsewhere and shall pcrrnit contiscation of any
          contraband observed in plain view of the probation offlcer;

          the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law cnforcement officer;

          the defendant shall not entcr into any agrecmcnt to act as an inforrncr or a spccial agent of a law cnforccmcnt agency without the
          pennission of the court; and

          as directed by the probation officer, the dekndant shall noti@ third parlics of risks that may be occasioned by the dcfcndant's criminal record
          or personal history or characteristics and shall permit the probation otliccr to make such notitications and to confirm thc defendant's
          compliance with such notification rcquircmcnt.
     Case 8:04-cr-00374-JSM-AEP Document 337 Filed 01/31/08 Page 4 of 6 PageID 646
A 0 2450 (Rcv. 06/05) Sheet 3C - Supervised Rclcase ( J ~ ~ d g n i c in
                                                                      n t a Crimi~ialCase)

Defendant:          WADE ATKINS HOOKER-JAMES                                                         Judgment - Page 4 of 6
Case No.:           8:04-cr-374-T-30TBM

                                            SPECIAL CONDITIONS OF SUYERVISlON

          The defendant shall also comply with the following additional conditions of s~~pervised
                                                                                               release:

-
X         Should the defendant be deported. helshe shall not be allowed to re-enter the United States without the express permission of
          the appropriate governmental authority.

-
X         The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court authorizes random
          drug testing not to exceed 104 tests per year.
     Case 8:04-cr-00374-JSM-AEP Document 337 Filed 01/31/08 Page 5 of 6 PageID 647
A 0 245B (Rcv 06/05) Sheet 5 - Criininal Monetary Penalties (Judgmcnt in a Criminal Cose)

Defendant:         WADE ATKINS HOOKER-JAMES                                                           J wdgnent - Page 5-   of 6
Case No.:          8:04-cr-374-T-30TBM

                                          CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                           Assessment                             -
                                                                  Fine                      Total Restitution

         Totals:           $100.00                                Waived                    N/A


-        The determination of restitution is deferred until         .      An Amended JLdgment in u Criminal Case (A0 245C) will
         be entered after such determination.

-        'The defendant must make restitution (including cominu~iityrestitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority order or percentage pa ent column below. However, pursuant to 18 U.S.C. 5
                                                                        iY
         3664(i), all non-federal victims must be pald before the nited States.


 Name of Payee                                 Total Loss*                  Restitution Ordered                Prioritv or Percentage




                           Totals:            li-                           $


          Restitution amount ordered pursuant to plea agreenzent $
         The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 9 3612(£). All of the payment options on Sheet
         6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 36 12(g).
         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        -          the interest requirement is waived for the - fine - restitution.
        -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A. 110, 1IOA, and 113A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 06/05) Sheet 6 - Schedulc of P:~ynents(Judgment in a Criminal Case)

Defendant:        WADE ATKINS I-IOOKER-JAME S                                                             Judgment - Page 6of 6
Case No.:         8:04-cr-374-T-30TBM



                                                   SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

                   Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                   , or
                            -in accordance - C, - D, - E or - F below; or
                  Payment to begin immediately (may be combined with -C, -D, or -F below); or
                  Payment in equal          (e.g., weekly. monthly. quarterly) installments of $          over a period
                  of -(e.g., months or years), to commence             days (e.g., 30 or 60 days) after the date of this
                  judgment: or
                   Payment in equal               (e.g., weekly. monthly, quarterly) installments of $           over a period of
                               , ( e g , months or years) to commence                     (e.g. 30 or 60 days) after release from
                   imprisonment to a term of supervision; or
                   Payment during the term of supervised release will commence within              (e.g., 30 or 60 days)
                   after release from imprisonnlent. The court will set the payment plan based on an assessment of the
                   defendant's ability to pay at that time, or
                   Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise. if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during imprisonment. All crinlinal monetary penalties, except those payments made through the Federal
bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States irnrnediatel y and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture, which are in the possession or control of the defendant or the defendant's
nominees.
Payments shall be applied in the following order: ( 1 ) assessment. (2) restitution principal, (3) restitution interest, (4) f i e principal, (5)
fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
